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                        UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                           PRO MEMO

                                                               04/16/2018 01:00 PM

                                                                COURTROOM 9B

HONORABLE ROBERTA COLTON
CASE NUMBER:                                                   FILING DATE:
8:16-bk-00265-RCT                  Chapter 7                     04/18/2016

ADVERSARY: 8:16-ap-00285-RCT                           Pltf Atty: Gregory S Grossman

                                                       Dft Atty: Suzy Tate

DEBTOR:                Amit Bhalla



HEARING:

China Central Television et al v. Bhalla

Trial. <2 HOURS RESERVED>
(1) Defendant's Request for Hearing and Claim of Exemption (Doc #93)
-Defendant's Opposition to WRITS OF GARNISHMENT SERVED ON JPMORGAN CHASE BANK, N.A., AND CREATIVE
INNOVATION SOLUTIONS CORP. (Doc #98)
-Plaintiff's Objection to Claim of Exemption and Objection to Writs of Garnishment Served on JPMorgan Chase Bank, N.A. and
Creative Innovation Solutions Corp. (Doc #100)
(2) Opposition Motion to Dissolve Writs of Garnishment Filed by Suzy Tate on behalf of Defendant Amit Bhalla, Interested Party
Rena Bhalla (Doc #105)
- Response to Defendant Amit Bhalla And Interested Party Rena Bhallas Motion To Dissolve Writs Of Garnishment Served On
Jpmorgan Chase Bank, N.A., And Creative Innovation Solutions Corp. Filed by Gregory S Grossman on behalf of Plaintiffs China
Central Television, China International Communications Co., LTD., Dish Network LLC, TVB Holdings (USA), Inc. (Doc #106)
Notes:
- Defendant's Notice of Filing affidavits in support of Defendant Amit Bhalla and Interested Party Rena Bhallas Motion to Dissolve
Writs of Garnishment Served on JPMorgan Chase Bank, N.A., and Creative Innovation Solutions Corp. (Doc #107)
- Defendant's Notice of Filing Declaration in connection with Motion to Dissolve Writs (Doc #108)
- Defendant's Notice of Filing corrective affidavit of Rena Bhalla in support of Defendant Amit Bhalla and Interested Party Rena
Bhallas Motion to Dissolve Writs of Garnishment Served on JPMorgan Chase Bank, N.A., and Creative Innovation Solutions Corp.
(Doc #109)
- Opposition and Response to Plaintiffs' Various Re-Notices for Taking Deposition Duces Tecum (Doc #122)
Trial Materials:
- Plaintiff's Exhibits (Doc #123)
- Defendant's Exhibits (Doc #124)
- Plaintiff's Corrective Exhibits 10, 11, 12 (Doc #125)
.


APPEARANCES:: Daniel Coyle, Suzy Tate.

WITNESSES: Amit Bhalla, Rena Mehta Bhalla.


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EVIDENCE: Plaintiff's Exhibits 1, and 5 - 12 identified and admitted without objection (Doc #123, 125); Defendant's Exhibits 1-13,
and 15-25 identified and admitted without objection (Doc #124).


RULING:
Trial. <2 HOURS RESERVED> - Additional briefs due in 15 days; Court will issue Order.

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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




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